                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )      COLLIER/CARTER
                                               )
        v.                                     )      CASE NO. 1:09-CR-116
                                               )
 NORMAN DUNN                                   )


                                             ORDER

        On November 2, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation (Court File No. 37), and on November 23, 2009, filed a Modified Report and

 Recommendation recommending (a) the Court accept Defendant Norman Dunn’s (“Defendant”)

 plea of guilty to Count One of the Indictment, to the extent that it charges the lesser included

 offense under 21 USC §§ 846, 841(a)(1) and (b)(1)(C), in exchange for the undertakings made

 by the government in the written plea agreement; (b) the Court adjudicate Defendant guilty of

 the charges set forth in Count One of the Indictment; (c) that a decision on whether to accept the

 plea agreement be deferred until sentencing; and (d) Defendant shall be taken into custody

 pending sentencing in this matter (Court File No. 38). Neither party filed an objection within the

 given ten days. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 modified report and recommendation (Court File No. 38) pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment, to the extent that it

 charges the lesser included offense under 21 USC §§ 846, 841(a)(1) and (b)(1)(C), in exchange

 for the undertakings made by the government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the



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 Indictment, to the extent that it charges the lesser included offense under 21 USC §§ 846,

 841(a)(1) and (b)(1)(C);

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL BE TAKEN INTO CUSTODY pending sentencing on

 Thursday, February 18, 2010, at 2:00 p.m.

        SO ORDERED.

        ENTER:

                                              /s/
                                              CURTIS L. COLLIER
                                              CHIEF UNITED STATES DISTRICT JUDGE




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